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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Standing Rock Sioux Tribe; Yankton Sioux
Tribe; Robert Flying Hawk; Oglala Sioux
Tribe,
Plaintiffs,
and

Cheyenne River Sioux Tribe; Sara Jumping
Eagle et al.,

Plaintiff-Intervenors,
vs.
U.S. Army Corps of Engineers,
Defendant-Cross-Defendant,
and
Dakota Access, LLP,

Defendant-Intervenor-Cross-
Claimant.

 

Civil No. 1:16-cv-01534-JEB
(Consolidated Case Nos.
1:16-cv-01796 and 1:17-cv-00267)

 

DECLARATION OF JULIE FEDORCHAK
IN SUPPORT OF MOTION TO INTERVENE

 

I, Julie Fedorchak, state and declare as follows:

1. My name is Julie Fedorchak. I am over 21 years of age and am fully competent
and duly authorized to make this Declaration. The facts contained in this Declaration are based
on my personal knowledge and are true and correct.

2. I am the current Chair of the North Dakota Public Service Commission (the
“Commission”). I have not previously submitted declarations in this matter discussing the role of

the Commission’s extensive environmental and regulatory review of the Dakota Access Pipeline

(“DAPL?’) on behalf of the Commission and my duties therein.
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3. The Commission is a constitutional agency statutorily charged with the siting of
transmission facilities under the North Dakota Siting Act, which is codified in Chapter 49-22 and
49-22.1 of the North Dakota Century Code. The purpose of the Siting Act is to ensure that the
location, construction, and operation of transmission facilities will produce minimal adverse
effects on the environment and upon the welfare of the citizens of this state by providing that no
transmission facility shall be located, constructed, and operated within this state without a
certificate of site compatibility or a route permit issued by the Commission. Projects such as
DAPL fall under the jurisdiction of the Commission’s statutory duties regarding the siting of
transmission facilities.

4. In my capacity as Chair of the Commission, my responsibilities include utility rate
regulation; utility resource adequacy; regional transmission organization engagement; energy
generation, refinement, and transmission infrastructure siting; railroad safety oversite; gas pipeline
safety on behalf of the Pipeline and Hazardous Materials Safety Administration (“PHMSA”); coal
mine permitting and reclamation; restoration of abandoned mine lands; and various other
compliance programs. While all Commissioners exercise equal authority and share equal
responsibility for every decision, my portfolio assignments include, among other things,
overseeing the permitting processes of transmission pipelines. More specifically, I was the
portfolio holder for pipeline siting during the permitting of Dakota Access pipeline.

5. I attest that the Commission, exercised its statutory and regulatory authority in
reviewing and certifying DAPL in accordance with the North Dakota Constitution and statutes that
establish the public purposes and duties of the Commission on behalf of the citizens of North
Dakota. From the initial filing of the application through the Commission’s issuance of its second

supplemental order, the siting procedure extended 18 months and the Commission has had
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continuing jurisdiction over the construction process (including any post-construction restoration
or remediation) for more than 6 years.

6. On December 22, 2014, Dakota Access, LLC filed applications with the
Commission requesting a certificate of corridor compatibility and a route permit concerning
approximately 358 miles of 12-, 20-, 24-, and 30-inch diameter crude oil pipeline and associated
facilities within the State for the project ultimately known as the Dakota Access Pipeline or DAPL.
The Dakota Access Pipeline would carry half a million barrels of North Dakota oil daily through
the Dakotas and Iowa to a distribution point in Illinois. The proposed (and ultimately Commission
approved) route avoided the Standing Rock Sioux Tribe’s reservation and crossed under Lake
Oahe, a Missouri River reservoir in North Dakota. On March 25, 2015, the Commission deemed
Dakota Access' applications for a certificate of corridor compatibility and a route permit complete,
conditioned upon receiving additional environmental reports including a wetlands and waterbody
field survey report, the wildlife field survey report, the habitat assessment field survey report, and
the tree and shrub inventory report.

7. Also, on March 25, 2015, the Commission issued a Notice of Filings and Notice of
Hearings, scheduling hearings regarding the applications for a certificate of corridor compatibility
and route permit for May 28, 2015, June 15, 2015, and June 26, 2015.

8. The Notice identified three issues be considered: (1) Will the location, construction,
and operation of the proposed facilities produce minimal adverse effects on the environment and
upon the welfare of the citizens of North Dakota?; (2) Are the proposed facilities compatible with
the environmental preservation and the efficient use of resources?; and (3) Will the proposed

facility locations minimize adverse human and environmental impact while ensuring continuing
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system reliability and integrity and ensuring that energy needs are met and fulfilled in an orderly
and timely fashion?

9. The three public hearings on Dakota Access' applications for certificate of corridor
compatibility and route permit were held as scheduled. Hundreds of interested persons
participated. Everyone who wished to testify was allowed to do so with no time restrictions. More
than 30 hours of testimony was received during the public hearings.

10. | The Commission heard and evaluated expert and citizen testimony regarding the
environmental, health, recreation, soil, water resources, wildlife, and cultural and historic
preservation consequences of DAPL. The Commission evaluated the Lake Oahe crossing under
the Missouri River, as well as other possible alternative routes through the state. Among the
alternatives, the Commission considered the use of third-party infrastructure, other forms of
transporting oil, and alternative routes of operation. DAPL’s approved route was based upon the
opportunity to locate with proximity to existing infrastructure, minimize safety concerns, avoid
environmentally sensitive areas, avoid indigenous and federally owned lands, and other high-
consequence areas as defined by the PHMSA and State law, to minimize disruptive construction,
and enhance efficient operation.

11. With respect to the chosen Lake Oahe crossing, the Commission heavily evaluated
the route and considered its location relative to existing utility lines and pipelines. Paralleling
DAPL with existing utility lines and pipelines throughout the route including in an existing
crossing under the Missouri River minimized the amount of ground and area that would be newly
disturbed, thereby reducing the risk of disturbing sites of historic and cultural significance or
causing adverse environmental impacts. Other major points of discussion on the crossing were the

depth of the crossing 64 feet below the reservoir bottom, the location of automatic block valves,
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worst-case spill scenarios and emergency response plans including the staging of equipment near
the river crossing.

12. On January 20, 2016, having allowed all interested persons an opportunity to be
heard and having heard, reviewed, and considered all testimony and evidence presented during the
State's extensive siting evaluation, the Commission issued its order granting Dakota Access its
Certificate of Corridor Compatibility and Route Permit (“Certificate Order’) pursuant to the North
Dakota Century Code Chapter 49-22. Based upon the evidence and comments provided from
numerous State and federal agencies, intervening parties, and the interested public, the
Commission determined that the location, construction, and operation of DAPL would best
minimize adverse human and environmental impacts. Commission’s Finding of Fact Number 17
in the Certificate Order states that the Corps was specifically notified about the project and given
the opportunity to confer with the State and the Commission on the justifications for the pipeline.

13. In addition to the initial published notices and Certificate Order, the Commission
published additional notice of opportunities for hearing regarding requested corridor and route
adjustments on September 16, 2015 and April 20, 2016 and issued a supplemental order on May
24, 2016. The Commission did not receive a request for reconsideration or rehearing of the
Certificate Order or subsequent orders. The Commission monitored the construction and
locational siting of the pipeline and currently continues to monitor revegetation and remediation
of the DAPL construction.

14. Pursuant to the State’s Administrative Practices Act, the Commission’s Certificate
Order and subsequent orders were subject to judicial review if, among other things, it was issued

not in accordance with the law, did not afford a fair hearing, was not supported by the evidence
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and findings, and did not sufficiently address the evidence presented by a party. However, no
party challenged the Certificate Order.

15. Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing
is true and correct.

Executed on April 16, 2021.

lie FedorcHak

Chair of the North Dakota Public
Service Commission
